                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

MICHAEL DEWAYNE PATTERSON, )
#325 121,                  )
                           )
      Plaintiff,           )
                           )
      v.                   )                CASE NO. 1:21-CV-370-WHA-SRW
                           )
JAMES BRAZIER, et al.,     )
                           )
      Defendants.          )



                                       ORDER

      On May 27, 2021, the Magistrate Judge filed a Recommendation to which no timely

objection has been filed. Doc. 5. There being no objection filed to the Recommendation,

and after an independent review of the file, the Court concludes the Magistrate Judge’s

Recommendation should be adopted. Accordingly, it is ORDERED that:

      1. The Recommendation of the Magistrate Judge (Doc. 5) is ADOPTED.

      2. Plaintiff’s Complaint against Defendant Dunn is DISMISSED without prejudice

under 28 U.S.C. § 1915A(b)(1).

      3. Defendant Dunn is TERMINATED as a party prior to service of process.

      The Clerk of the Court is DIRECTED to enter this document on the civil docket as

a final judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure as to

Defendant Dunn.
      This case is not closed and is referred to the United States Magistrate Judge for

further proceedings regarding Plaintiff’s claims against the remaining defendants.

      Done, this 21st day of June 2021.



                                  /s/ W, Harold Albritton
                                  W. HAROLD ALBRITTON
                                  SENIOR UNITED STATES DISTRICT JUDGE




                                            2
